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                     EXHIBIT B
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                 ASSUMPTIONS AND NOTES TO ACCOMPANY HYPOTHETICAL
                               LIQUIDATION ANALYSIS

  The Committee1 and Trustee with the assistance of their advisors, has prepared this hypothetical
  liquidation analysis (the “Liquidation Analysis”) in connection with the Disclosure Statement. The
  Liquidation Analysis indicates the estimated values that may be obtained by Classes of Claims
  upon disposition of assets, pursuant to a chapter 7 liquidation, as an alternative to the Restructuring
  or Liquidation described in the Plan. Accordingly, asset values and costs discussed herein may be
  different than amounts referred to in the Plan. The Liquidation Analysis is based upon the
  assumptions discussed herein and in the Disclosure Statement.

  The Liquidation Analysis is based on the Debtors’ Schedules of Assets and Liabilities filed in the
  Chapter 11 Cases and Rooftop International’s monthly operating report for the month ending April
  30, 2020 [Docket No. 202 in the Rooftop International case]. The Liquidation Analysis represents
  an estimate of recovery values and percentages based upon a hypothetical liquidation of the
  Debtors if a chapter 7 trustee was appointed by the Bankruptcy Court to convert assets into cash.
  The determination of the hypothetical proceeds from the liquidation of assets is an uncertain
  process involving the extensive use of estimates and assumptions that, although considered
  reasonable by the Committee and Trustee, are inherently subject to significant business, economic
  and competitive uncertainties and contingencies beyond the control of the Committee and Trustee.
  ACCORDINGLY, THE COMMITTEE AND TRUSTEE MAKE NO REPRESENTATION OR
  WARRANTY THAT THE ACTUAL RESULTS OF A LIQUIDATION OF THE DEBTORS
  WOULD OR WOULD NOT APPROXIMATE THE ASSUMPTIONS REPRESENTED
  HEREIN. ACTUAL RESULTS COULD VARY MATERIALLY.

  In preparing the Liquidation Analysis, the Committee and Trustee have estimated an amount of
  allowed claims for each class of claimants based upon a review of the Debtors’ Schedules and the
  claims filed. No order or finding has been entered or made by the Bankruptcy Court estimating or
  otherwise fixing the amount of Claims at the projected amounts of allowed claims set forth in the
  Liquidation Analysis. The estimate of the amount of allowed claims set forth in the Liquidation
  Analysis should not be relied upon for any other purpose, including, without limitation, any
  determination of the value of any distribution to be made on account of allowed claims under the
  Plan. The actual amount of allowed claims could be materially different from the amount of claims
  estimated in the Liquidation Analysis.

  The Liquidation Analysis does not include estimates for the tax consequences that may be
  triggered upon the liquidation of assets in the manner described above. Such tax consequences
  may be material. In addition, the Liquidation Analysis does not include recoveries resulting from
  any potential preference, fraudulent transfer, or other litigation, avoidance actions, or Causes of
  Action.




  1
      Capitalized terms used, but not defined herein, shall have the meaning ascribed to them in the Plan.
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Rooftop Group International Pte. Ltd., Rooftop Group USA, Inc., Rooftop Group Services (US) Inc.
Estimates made as of May 28, 2020
                                                                    Chapter 11                           Chapter 7
                                                           Estimated Proceeds Available        Estimated Proceeds Available
                                                            to be Distributed under Plan     to be Distributed under Chapter 7
                                                Notes          Low               High             Low                High
Estimated Proceeds
Cash and Cash Equivalents                         1    $         215,000 $          215,000 $       215,000 $          215,000
Sale Proceeds                                     2                   -          3,000,000          100,000            500,000
Royalty Revenue                                   3             3,000,000        8,000,000                -            200,000
New Common Stock Value                            4                   -                TBD                -                -
Causes of Action                                                    TBD                TBD               TBD              TBD
 Total Estimated Proceeds                                      3,215,000        11,215,000          315,000            915,000

Estimated Administrative & Priority Claims
Professional Fees (Unpaid)                              5      $        450,000 $          450,000     $       450,000 $            450,000
Chapter 7 Trustee and Advisor Fees                      6                   -                  -               200,000              100,000
General Administrative/Priority Claims                                      -               10,000                 -                 10,000
  Total Estimated Admin. & Priority Claims                              450,000            460,000             650,000              560,000
% Recovery for Administrative & Priority Claims                           100%               100%                 48%                 100%

Amount Available for Distribution to Creditors                        2,765,000         10,755,000                  -               355,000

Estimated General Unsecured Creditor Claims             7      $    72,000,000 $        72,000,000     $    72,000,000 $         72,000,000
% Recovery for General Unsecured Creditors              8                 3.8%               14.9%                0.0%                 0.5%




Note 1 - Available cash as of April 30, 2020

Note 2 - Assumes no sale of assets in a Restructuring; assumes a sale of assets in a Liquidation after collecting royalty revenue
for three years; assumes sale of assets in chapter 7

Note 3 - Assumes collecting royalty revenue for three years in a Liquidation at average of $1 million per year (total amount
not discounted for present value); assumes collecting royalty revenue for five years in a Restructuring under a renegotiated
licensing agreement with higher royalty payments (total amount not discounted for present value); assumes chapter 7 trustee
collects $200,000 in royalty revenue before assets sold

Note 4 - "High" side of recovery in a Restructuring under a Plan of Reorganization could have significant upside due to the
potential value of the New Common Stock

Note 5 - Estimated unpaid chapter 11 professional fee amounts

Note 6 - In the event of conversion to chapter 7, the chapter 7 trustee would be unfamiliar with the complexities of the case.
The amounts represent an estimate of a chapter 7 trustee's compensation and professional fees, plus the potential additional
expenses that would reasonably be expected to be incurred due to the unavoidable inefficiencies of the administration of the
estate by a chapter 7 trustee

Note 7 - Estimated approximate mid-point between scheduled and filed amounts of General Unsecured Claims;
filed claims asserting secured status included for purposes of this Liquidation Analysis

Note 8 - "High" side of recovery in a Restructuring under a Plan of Reorganization could be significantly greater than 14.9%
due to potential value of the New Common Stock
